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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

    AMERICAN SPIRIT AND CHEER
    ESSENTIALS, INC., ROCKSTAR
    CHAMPIONSHIPS, LLC, JEFF &
    CRAIG CHEER, LLC, d/b/a JEFF AND
    CRAIG CAMPS, and ASHLEY             CIVIL ACTION
    HAYGOOD, Individually and on Behalf FILE NUMBER:
    of all Others Similarly Situated,   1:20-cv-03088-SCJ

                          Plaintiffs,
                                                 CLASS ACTION
    v.
                                                 REQUEST FOR PRODUCTION
    VARSITY BRANDS, LLC, BSN                     OF DOCUMENTS TO
    SPORTS, LLC, VARSITY SPIRIT                  DEFENDANT BSN
    LLC, STANBURY UNIFORMS, LLC,                 SPORTS, LLC
    HERFF JONES, LLC, BAIN
    CAPITAL, LP, CHARLESBANK
    CAPITAL PARTNERS,
    LLC,VARSITY BRANDS HOLDING
    CO., INC., VARSITY SPIRIT
    FASHION & SUPPLIES, LLC, U.S.
    ALL STAR FEDERATION, INC., USA
    FEDERATION FOR SPORT
    CHEERING, d/b/a USA CHEER,
    VARSITY INTROPA TOURS, LLC
    and JEFF WEBB,

                         Defendants.




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                        PLAINTIFF'S FIRST REQUEST FOR
                         PRODUCTION OF DOCUMENTS

         Pursuant to Federal Rules of Civil Procedure 34 Plaintiff requests that

   Defendant, BSN Sports, LLC produce and permit Plaintiff to inspect and copy the

   following documents. Defendant is requested to produce the documents at the offices

   of Falanga & Chalker, 11200 Atlantis Place, Suite C, Alpharetta, Georgia 30022,

   within thirty (30) days of receiving this Request for Production of Documents.

   These document requests are continuing in nature and must be supplemented as

   required by Fed. R. Civ. P. 26 (b)(e).

         For the purposes of this request, the term "document" means anything serving

   as proof, or which may be relied upon to record or prove something, and includes,

   but is not limited to, writings, drawings, graphs, charts, photographs, audio and video

   recordings, correspondence, contracts, invoices, billings, memoranda, reports,

   notices, transcripts, summaries, minutes, electronic mail, and data compilations,

   including those in computer media or memory.

         For purposes of this request, the term "Defendant" includes all persons or

   organizations acting on behalf of or at the behest of the Defendants named in the

   caption of this action and BSN Sports, LLC.




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                           REQUESTS FOR PRODUCTION

                                            1.

         Please produce any and all financial records or agreements that would reflect

   how much money was taken in and what was spent out associated with funds

   obtained by BSN Sports, LLC for any sales done associated with the scholastic sales

   of merchandise for the years 2016, 2017, 2018 and 2019. Plaintiff agrees to keep this

   information confidential and is willing to execute an agreed upon privilege and/or

   confidential agreement with Defendant to protect this information.

                                            2.

         Please produce any and all financial records associated with the business of

   the BSN Sports, LLC for the years 2016, 2017, 2018 and 2019. Plaintiff agrees to

   keep this information confidential and is willing to execute an agreed upon privilege

   and/or confidential agreement with Defendant to protect this information.

                                            3.

         Please produce a copy of the restrictive Aexclusivity@ email, memo, letter or

   directive sent by VP Bill Boggs in approximately 2008 to the college coaches

   stating:

         AAfter much thought and deliberation and based on a number of factors,
         NCA/ NDA (Varsity) is initiating a new policy related to College
         Nationals: Due to TV, admin concerns regarding school-based
         priorities, image and funding, and sponsorship considerations, teams

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         that compete in NCA/NDA College Championships may not be eligible
         to participate in any other event promoted as a cheer or dance Anational
         championship.@
                                             4.
         Produce any and all documents, agreements or contracts that relate to or
   establish any type relationship between Jeff Webb and BSN Sports, LLC that were
   entered into from 2010 until the present. Plaintiff agrees to keep this information
   confidential and is willing to execute an agreed upon privilege and/or confidential
   agreement with Defendant to protect this information.
                                             5.
         Please produce any and all contracts, documents, memos, letters, or any
   agreements between Jeff Webb and Varsity Brands, LLC or any of the other
   associated or subsidiary companies (not to be limited to, but to include the co-
   defendants listed in this litigation) that came into existence or entered into at any
   time during the last ten years. Plaintiff agrees to keep this information confidential
   and is willing to execute an agreed upon privilege and/or confidential agreement
   with Defendant to protect this information.
                                             6.
         Please produce a complete set of the USA Federation for Sport Cheering
   (USA Cheer) rules governing Cheer that was used for 2016, 2017, 2018 and 2019.
   This includes any updates, changes or directives issued during those years. Plaintiff
   agrees to keep this information confidential and is willing to execute an agreed upon
   privilege and/or confidential agreement with Defendant to protect this information.


                                             7.
         Please produce any and all loan documents associated with any loans given


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   by BSN Sports, LLC, Varsity Brands, LLC, or any of your subsidiary companies
   (not to be limited to, but to include the co-defendants in this litigation) to USA
   Federation for Sport Cheering (USA Cheer).          Plaintiff agrees to keep this
   information confidential and is willing to execute an agreed upon privilege and/or
   confidential agreement with Defendant to protect this information.
                                            8.
         Please produce a complete list of the USA Federation for Sport Cheering
   (USA Cheer) board members, including the current presidents name, the names of
   the board members, mailing addresses, email addresses, phone numbers, and any
   records that would identify by whom they are employed, for the years 2016, 2017,
   2018 and 2019. Plaintiff agrees to keep this information confidential and is willing
   to execute an agreed upon privilege and/or confidential agreement with Defendant
   to protect this information.
                                            9.
         Please identify and produce a complete list of the name, address, title and
   phone number for every president and vice-president for Varsity Brands, LLC and
   each co-defendant subsidiary company, including BSN Sports, LLC, listed in this
   litigation for the years 2016, 2017, 2018, 2019 and 2020. Plaintiff agrees to keep
   this information confidential and is willing to execute an agreed upon privilege
   and/or confidential agreement with Defendant to protect this information.


                                           10.
         Produce any and all documents, agreements or contracts that relate to or
   establish the sale, merger or purchase, by either Bain Capital, LP or CharlesBank
   Capital Partners, LLC of Varsity Brands, LLC, BSN Sports, LLC or any of your
   subsidiary companies which were entered into during the years 2016, 2017, 2018,


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   2019 or 2020. Plaintiff agrees to keep this information confidential and is willing to
   execute an agreed upon privilege and/or confidential agreement with Defendant to
   protect this information.
                                            11.
         Please produce any and all contracts, documents, memos, letters, or any
   agreements between Jeff Webb, Varsity Brands, LLC, BSN Sports, LLC, any
   subsidiary of Varsity Brands, LLC, or USA Federation for Sport Cheering (USA
   Cheer) and Varsity Intropa Tours, Inc. which were entered into during the years
   2016, 2017, 2018 and 2019. Plaintiff agrees to keep this information confidential
   and is willing to execute an agreed upon privilege and/or confidential agreement
   with Defendant to protect this information.
                                            12.
         Please produce any documents, ledgers, accounting records or other financial
   records that would reflect the gross annual revenues and the net profits for BSN
   Sports, LLC for each of the years 2016, 2017, 2018 and 2019. Plaintiff agrees to
   keep this information confidential and is willing to execute an agreed upon privilege
   and/or confidential agreement with Defendant to protect this information.
                                            13.
         Please produce any records that would reflect how many full time employees
   BSN Sports, LLC had in each of the years 2016, 2017, 2018 and 2019. Plaintiff
   agrees to keep this information confidential and is willing to execute an agreed upon
   privilege and/or confidential agreement with Defendant to protect this information.
                                            14.
         Please produce any and all contracts, documents, memos, letters, or any
   agreements between Jeff Webb, Varsity Brands, LLC, BSN Sports, LLC, any
   subsidiary of Varsity Brands, LLC, or USA Federation for Sport Cheering (USA


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   Cheer) and Disney World Resort or Disneyland which were entered into during the
   years 2016, 2017, 2018 and 2019.         Plaintiff agrees to keep this information
   confidential and is willing to execute an agreed upon privilege and/or confidential
   agreement with Defendant to protect this information.
                                            15.
         Please produce any and all contracts, documents, memos, letters, or any
   agreements between Jeff Webb, BSN Sports, LLC, Varsity Brands, LLC, any
   subsidiary of Varsity Brands, LLC, or USA Federation for Sport Cheering (USA
   Cheer) and ESPN to broadcast cheerleading competitions which were entered into
   during   the years 2016, 2017, 2018 and 2019.         Plaintiff agrees to keep this
   information confidential and is willing to execute an agreed upon privilege and/or
   confidential agreement with Defendant to protect this information.
                                            16.
         Please produce a list that would include the identity by name of the student
   sized or measured for any type of scholastic uniform, parents name, address, email
   address and phone number associated with scholastic sales by your scholastic sales
   employees/representatives (not All Star sales reps) for each of the years 2016, 2017,
   2018 and 2019. Plaintiff agrees to keep this information confidential and is willing
   to execute an agreed upon privilege and/or confidential agreement with Defendant
   to protect this information.
                                            17.
         Please produce a list that would include the identity by name of the student
   that purchased any merchandise, the parents name, address, email address and phone
   number associated with scholastic sales by your scholastic sales (not All Star sales
   reps) employees/representatives for each of the years 2016, 2017, 2018 and 2019.
   Plaintiff agrees to keep this information confidential and is willing to execute an


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   agreed upon privilege and/or confidential agreement with Defendant to protect this
   information.
                                            18.
         Please produce a list that would include the identity by name of the student
   and/or parent who purchased either a class ring or a champions ring, their address,
   email address and phone number associated with scholastic sales by your scholastic
   sales (not All Star sales reps) employees/representatives for each of the years 2016,
   2017, 2018 and 2019. Plaintiff agrees to keep this information confidential and is
   willing to execute an agreed upon privilege and/or confidential agreement with
   Defendant to protect this information.
                                            19.
         Please produce a list that would include the identity of each school by name,
   address, email address, phone number, contact person at the school, who attended a
   Varsity Spirit sponsored camp for each of the years 2016, 2017, 2018 and 2019.
   Plaintiff agrees to keep this information confidential and is willing to execute an
   agreed upon privilege and/or confidential agreement with Defendant to protect this
   information.
                                            20.
         Please produce any and all financial records that would reflect the amount
   charged or accepted by BSN Sports, LLC, Varsity Brands, LLC, or any subsidiary
   company, for holding a summer camp for each school team, that would include the
   identity of each school by name, address, email address, phone number, contact
   person at the school, who paid for a Varsity sponsored camp, and the amount charged
   to the individual school for each summer camp, for each of the years 2016, 2017,
   2018 and 2019. Plaintiff agrees to keep this information confidential and is willing
   to execute an agreed upon privilege and/or confidential agreement with Defendant


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   to protect this information.
                                            21.
         Please produce a copy of every BSN Sports, LLC, Varsity Brands, LLC, or
   any subsidiary company of Varsity Brands, LLC catalogs for each of the years 2016,
   2017, 2018 and 2019. Plaintiff agrees to keep this information confidential and is
   willing to execute an agreed upon privilege and/or confidential agreement with
   Defendant to protect this information.
                                            22.
         Please produce a copy of every exclusive sales contract or agreement that BSN
   Sports, LLC, Varsity Brands, LLC, or any subsidiary company of Varsity Brands,
   LLC entered into with any school for each of the years 2016, 2017, 2018 and 2019.
   Plaintiff agrees to keep this information confidential and is willing to execute an
   agreed upon privilege and/or confidential agreement with Defendant to protect this
   information.
                                            23.
         Please produce any documents or sales employees manuals that existed for
   the years 2016, 2017, 2018 or 2019 used by the sales staff or sales managers for sales
   employees (both All Star and scholastic sales reps) of BSN Sports, LLC, Varsity
   Brands, LLC or any subsidiary companies of Varsity Brands, LLC. Plaintiff agrees
   to keep this information confidential and is willing to execute an agreed upon
   privilege and/or confidential agreement with Defendant to protect this information.
                                            24.
         Please produce a copy of every written or video produced promotion or
   marketing brochure, commercial or material generated for marketing, public
   relations or promotion and/or selling either merchandise or a service for BSN Sports,
   LLC, Varsity Brands, LLC or any subsidiary company of Varsity Brands, LLC for


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 each of the years 2016, 2017, 2018 and 2019. Plaintiff agrees to keep this
 information confidential and is willing to execute an agreed upon privilege and/or
 confidential agreement with Defendant to protect this information.
                                         25.
       Please produce a copy of the Impact program video for the re-branding of
 Catawba Ridge High School located in South Carolina and a copy of the total amount
 billed or charged by BSN Sports, LLC, Varsity Brands, LLC or any subsidiary
 company of Varsity Brands, LLC for this Impact program project.
                                         26.
       Please produce a copy of the Impact program contract or agreement for the
 re-branding of Catawba Ridge High School located in South Carolina and a copy of
 the total amount billed or charged by BSN Sports, LLC, Varsity Brands, LLC or any
 subsidiary company of Varsity Brands, LLC for this Impact program project.
                                         27.
       Please produce a complete list of all schools, including their name, address
 and phone number, who entered into any type of exclusive sales contract or
 agreement with BSN Sports, LLC, Varsity Brands, LLC or any subsidiary company
 of Varsity Brands, LLC for the years 2016, 2017, 2018 and 2019. Plaintiff agrees
 to keep this information confidential and is willing to execute an agreed upon
 privilege and/or confidential agreement with Defendant to protect this information.
                                         28.
       Please produce a copy of any and all contracts or agreements entered into by
 BSN Sports, LLC, Varsity Brands, LLC or any subsidiary company of Varsity
 Brands, LLC and Director=s Showcase International (DSI) which was done in
 between the years 2018 and 2020.        Plaintiff agrees to keep this information
 confidential and is willing to execute an agreed upon privilege and/or confidential


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 agreement with Defendant to protect this information.
                                          29.
       Please produce any contracts or agreements entered into USA Cheer and BSN
 Sports, LLC, Varsity Brands, LLC or any subsidiary company of Varsity Brands,
 LLC for Varsity employees to do any work for them (USA Cheer). This includes
 any work done by your employees for planning or putting on any competitions or
 camps for each of the years 2016, 2017, 2018 and 2019. Plaintiff agrees to keep this
 information confidential and is willing to execute an agreed upon privilege and/or
 confidential agreement with Defendant to protect this information.
                                          30.
       Please produce any and all records, contracts, agreements and financial
 documents that reflect any type of arrangement between BSN Sports, LLC, Varsity
 Brands, LLC or any subsidiary of Varsity Brands, LLC and Varsity Intropa Tours
 that have existed since 2010. Plaintiff agrees to keep this information confidential
 and is willing to execute an agreed upon privilege and/or confidential agreement
 with Defendant to protect this information.
                                          31.
       Please produce any and all financial records or financial documents that
 reflect the amount of money earned by BSN Sports, LLC, Varsity Brands, LLC or
 any subsidiary of Varsity Brands, LLC and Varsity Intropa Tours for either travel,
 tickets or hotels charged to either schools or parents of competition cheerleaders,
 parents of school cheerleaders, school bands or school color guards, for the years
 2016, 2017, 2018 or 2019. Plaintiff agrees to keep this information confidential and
 is willing to execute an agreed upon privilege and/or confidential agreement with
 Defendant to protect this information.
                                          32.


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       Please produce any and all records, contracts, agreements and financial
 documents that reflect any type of arrangement between BSN Sports, LLC, Varsity
 Brands, LLC or any subsidiary of Varsity Brands, LLC and K & K Insurance that
 have existed since 2010. Plaintiff agrees to keep this information confidential and
 is willing to execute an agreed upon privilege and/or confidential agreement with
 Defendant to protect this information.
                                          33.
       Please produce any and all financial records or financial documents that
 reflect the amount of money earned by BSN Sports, LLC, Varsity Brands, LLC or
 any subsidiary of Varsity Brands, LLC and K & K Insurance for cheerleading
 insurance charged to either schools or parents of competition cheerleaders for the
 years 2016, 2017, 2018 or 2019.          Plaintiff agrees to keep this information
 confidential and is willing to execute an agreed upon privilege and/or confidential
 agreement with Defendant to protect this information.
                                          34.
       Please produce a complete list, including names, addresses, email addresses
 and phone number for all BSN Sports, LLC sales personnel that worked for BSN
 Sports, LLC during the years 2016, 2017, 2018 and 2019. Plaintiff agrees to keep
 this information confidential and is willing to execute an agreed upon privilege
 and/or confidential agreement with Defendant to protect this information.
                                          35.
       Please produce a complete list of the schools, including their addresses,
 contact person for sales at the school, and phone numbers for the schools that BSN
 Sports has done business with since the year 2016. Plaintiff agrees to keep this
 information confidential and is willing to execute an agreed upon privilege and/or
 confidential agreement with Defendant to protect this information.


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                                        36.
       Please produce any and all training or employee manuals used by BSN Sports,
 LLC to train or guide their sales staff in selling BSN Sports, LLC products to
 schools. Plaintiff agrees to keep this information confidential and is willing to
 execute an agreed upon privilege and/or confidential agreement with Defendant to
 protect this information.
                                        37.
       Please produce the contracts or agreements for purchasing and/or merging
 with the following companies: Herff Jones, LLC; Team division of Todd & Moore
 Sporting Goods, Inc.; Spokane Athletic Supply; Kohlmyer Sporting Goods;
 Partnership agreement with Pop Warner Little Scholars; East Texas Sports Center,
 Inc.; Olympia Sporting Goods, Inc.; Judge Little Co.; F & F Sport Shop, Inc.;
 Westside Team Sports, LLC; Ultimate Team Sales; Lid Team Sports from Genesco,
 Inc.; Jerry=s Sporting Goods; Idaho Sporting Goods; Steadman=s Sports Center in
 Los Angeles; S & S Sports Center in Los Angeles; Marlow Sports, Inc.; Team
 division of Erie Sports Store in Pa.; Lowe=s Sporting Goods in Kentucky; Kimmel=s
 Athletic Supply in Washington; Newberry Sporting Goods in Ohio; Athlete=s
 World/Stadium Sports in west Texas; Academy Sports in Ut.; Hibbett Team Sales;
 Gulf Coast Athletic Supply; DC Sports, Inc.; Midwest Sportswear & Athletic
 Supply; Reynolds Team Sales; Kelly=s Sports, LTD.; TEAMLINE, LTD; Jeff
 Sporting Goods; Sports Page Team; Naperville=s Janor Sports; Team division of
 Johnny Mac=s; H & L Sporting Goods; T & T Sportman=s Shop; Legacy Team Sales;
 Key Sport; Hillock Sports, LLC; David Bowen Sporting Goods; Wayne Sporting
 Goods; Riddell=s College Team Division; Key Business Lines; Athletics Unlimited;
 Nill Brothers Sports; and any other companies that have been either purchased or


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 merged with BSN Sports, LLC. Plaintiff agrees to keep this information confidential
 and is willing to execute an agreed upon privilege and/or confidential agreement
 with Defendant to protect this information.
                                         38.
       Please produce any and all contracts or agreements associated with the Impact
 Program and any schools for the last four years. Plaintiff agrees to keep this
 information confidential and is willing to execute an agreed upon privilege and/or
 confidential agreement with Defendant to protect this information.
                                         39.
       Please produce any and all advertising materials including print, email,
 electronic or video used by BSN or BSN sales staff to promote the Impact program
 for schools. Plaintiff agrees to keep this information confidential and is willing to
 execute an agreed upon privilege and/or confidential agreement with Defendant to
 protect this information.


                                               Respectfully submitted,

                                               /s/ Robert A Falanga
                                               Robert A. Falanga, Esq.
                                               Georgia Bar No. 254400

                                               /s/ Kobelah S. Bennah
                                               Kobelah S. Bennah
                                               Georgia Bar No. 378113

 LAW OFFICES
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 Alpharetta, GA 30022
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 Fax: (770) 955-2123
 RobertFalanga@FalangaLaw.com

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 kobelah@falangalaw.com


        The undersigned counsel certifies that the foregoing Request for Production
 of Documents have been prepared with the font and point selections approved by the
 court in LR 5.1B.

                                               S/ Robert A. Falanga
                                              ROBERT A. FALANGA
                                              Attorney for Plaintiffs
                                              State Bar No. 254400




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                  PLAINTIFF=S CERTIFICATE OF SERVICE

       This is to certify that I have this day served all counsel to this action with a

 copy of Plaintiff=s First Requests to Produce directed to Defendant BSN Sports, LLC

 for the above-styled case by either hand delivering same, by e-file and/or by

 depositing a copy of them in the United States mail in a properly addressed envelope

 with adequate postage affixed thereto as follows:

       Cleary, Gottlieb, Steen & Hamilton      Baker, Donelson, Bearman
       Attn: Steven J. Kaiser, Esq.            Caldwell & Berkowitz
             Alexis Collins, Esq.              Attn: Nicole Berkowitz, Esq.
             Mark W. Nelson, Esq.                     Grady Garrison, Esq.
             George S. Cary, Esq.              165 Madison Avenue
       2112 Pennsylvania Avenue, NW            Suite 2000
       Washington, D.C. 20037                  Memphis, TN. 38103

       Locke Lord, LLP
       Attn: Ms. Talis C. Trevino, Esq.
       Terminus 200, Suite 1200
       3333 Piedmont Road, NE
       Atlanta, Georgia 30305

       This 17TH day of September , 2020.

                                               S/ Robert A. Falanga
                                              Robert A. Falanga
                                              Attorney for the Plaintiffs
                                              Georgia Bar No.: 254400




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